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CIVIL MINUTES

Judge CHARLES R. BREYER

Date: July 27, 2007

C-07-02652 CRB

     YVONNE GLOVER v. SBC COMMUNICATIONS INC

Attorneys:     Teresa Renaker                                 Gary Lafayette

               Lindsay Nako                                   Forrest Fang

Deputy Clerk: BARBARA ESPINOZA                               Reporter: Debra Pas
PROCEEDINGS:                                                                            RULING:

1. P’s Motion to Remand                                                                 Denied

2. D’s Motion to Dismiss                                                                Granted

3.


ORDERED AFTER HEARING:

The Court grants motion to dismiss with leave to amend. The amended complaint to be filed within

fourteen (14) days.
( ) ORDER TO BE PREPARED BY:            Plntf        Deft           Court

( ) Referred to Magistrate Judge For:
               ( )By Court          ( )Parties to approach Chief Magistrate in future

( ) CASE CONTINUED TO                                  for

Discovery Cut-Off                                      Expert Discovery Cut-Off

Plntf to Name Experts by                               Deft to Name Experts by

P/T Conference Date                   Trial Date                      Set for       days
                                    Type of Trial: ( )Jury        ( )Court

Notes:
